                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:13-00121
                                                   )       JUDGE CAMPBELL
EMILIA TIRADO-MEDINA                               )

                                            ORDER

        Pending before the Court is the Defendant’s Motion To Continue Sentencing Hearing For

90 Days (Docket No. 34). Through the Motion, the Defendant requests that the sentencing hearing,

currently set for December 9, 2013, be continued for 90 days.

        The Motion is GRANTED. Accordingly, the sentencing hearing is CONTINUED until

March 21, 2014, at 1:00 p.m.

        It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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